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        ORDERED in the Southern District of Florida on May 15, 2019.




                                                                 Raymond B. Ray, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________



                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA

       In Re:
                                                                      Case No. 19-16118-RBR
       MICHAEL JOSEPH MCSHANE                                         Chapter 7


                  Debtor.
                                                       /

                  ORDER APPROVING EMPLOYMENT OF TRUSTEE'S ATTORNEY


                THIS CAUSE came on before the court upon the Trustee's Application for Employment

        of Mark Bonacquisti, Esq. and The Salkin Law Firm [ECF #11] in this case.                 Upon the

        representations that Mark Bonacquisti is duly qualified to practice in this court pursuant to Local

        Rule 2090-1(A) that Mark Bonacquisti of The Salkin Law Firm hold no interest adverse to the

        estate in the matters upon which they are engaged, Mark Bonacquisti, Esq. and The Salkin Law

        Firm are disinterested persons as required by 11 U.S.C §327(a), and have disclosed any



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connections with parties set forth in Bankruptcy Rule 2014, and that their employment is

necessary and would be in the best interests of the estate, it is:


       ORDERED that the trustee is authorized to employ Mark Bonacquisti, Esq., and The

Salkin Law Firm as attorney for the trustee, on a general retainer, pursuant to 11 U.S.C. §§327

and 330.

                                                 ###

Submitted by:         Sonya S. Slott, Trustee
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                      Plantation, FL 33318
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The party submitting this order shall serve a copy of the signed order on all interested parties and
file with the court a certificate of service conforming with Local Rule 2002-1(F).




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